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                           IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF UTAH


 UNITED STATES OF AMERICA,                         MEMORANDUM DECISION AND
                                                   ORDER CONTINUING TRIAL
                          Plaintiff,               AND EXCLUDING TIME
                                                   UNDER THE SPEEDY TRIAL ACT
 v.
                                                   Case No. 4:20-cr-47-DN-PK
 CAITLIN WATSON AND RENE
 ELIZARRARAZ,                                      District Judge David Nuffer

                          Defendants.


           This Order Continuing Trial and Excluding Time Under the Speedy Trial Act is entered

in response to the outbreak of the Coronavirus Disease (“COVID-19”) in the District of Utah.

           On March 13, 2020, a National Emergency was declared in response to the nationwide

outbreak, which the World Health Organization has declared a global pandemic. The numbers of

confirmed COVID-19 cases and deaths within the United States continue to increase daily. The

United States has more COVID-19 cases than any other country.

           The Centers for Disease Control and Prevention (“CDC”) has issued guidance to combat

the spread of COVID-19, and to promote the health and well-being of the nation. This guidance

includes recommendations that all Americans avoid close contact with others (i.e., being within

six feet) and wear cloth face coverings in public or when around others. Despite this guidance,

thousands of new COVID-19 cases continue to be reported in the United States each day. And

available evidence suggests there is difficulty in accurately tracking the spread of COVID-19

because many cases go undetected due to varying degrees of symptoms and a lack of available

testing.
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              In Utah, Governor Gary Herbert declared a state of emergency and issued a “Stay Safe,

Stay Home” directive to all Utahns. The directive was initially set to expire on April 13, 2020,

but was extended through May 1, 2020. The State subsequently moved to “low risk” as case

counts appeared to level off. But since then, there has been a statewide spike in case counts.

Most counties in the State remain in the “low risk” stage. The “low risk” stage still imposes

strong restrictions on the general public, particularly in group activities in small spaces. Persons

who are older, immunocompromised or considered at high risk of contracting the virus must still

take strict precautions.

              Additionally, Chief Judge Robert J. Shelby has issued several General Court Orders in

response to the outbreak of COVID-19 in the District of Utah.

          •   General Order 20-008 placed restrictions on visitors to the District’s courthouse effective
              March 12, 2020, until further order.

          •   General Order 20-009 postponed most civil and criminal proceedings, and included
              findings and conclusions for an “ends of justice” exclusion of time under the Speedy
              Trial Act 1 for all criminal cases in the District from March 16, 2020, through May 1,
              2020.

          •   General Order 20-010 modified court operations for some criminal proceedings and
              offender supervision effective March 23, 2020, until further order.

          •   General Order 20-011 expanded video and teleconferencing capabilities for many
              criminal proceedings under the Coronavirus Aid, Relief, and Economic Security Act
              effective March 31, 2020, and continuing for 90 days.

          •   General Order 20-012 extended the postponement of most civil and criminal proceedings
              to June 15, 2020, and included findings and conclusions for an “ends of justice”
              exclusion of time under the Speedy Trial Act 2 for all criminal cases through June 15,
              2020.

          •   General Order 20-017 extended the postponement of most civil and criminal proceedings
              to August 1, 2020, and included findings and conclusions for an “ends of justice”


1
    18 U.S.C. § 3161(h)(7)(A).
2
    Id.



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              exclusion of time under the Speedy Trial Act 3 for all criminal cases through August 1,
              2020.

          •   General Order 20-021 extended the postponement of most civil and criminal proceedings
              to September 1, 2020, and included findings and conclusions for an “ends of justice”
              exclusion of time under the Speedy Trial Act 4 for all criminal cases through September 1,
              2020.

          •   General Order 20-026 extended the postponement of most civil and criminal proceedings
              to October 1, 2020, and included findings and conclusions for an “ends of justice”
              exclusion of time under the Speedy Trial Act 5 for all criminal cases through October 1,
              2020.

          •   General Order 20-029 extended the postponement of most civil and criminal proceedings
              to November 2, 2020, and included findings and conclusions for an “ends of justice”
              exclusion of time under the Speedy Trial Act 6 for all criminal cases through November 2,
              2020.

General Order 20-021 also outlined the plan for phased reopening that the District of Utah has

adopted. The criteria required to enter Phase I and resume “critical” in-person hearings in civil

and criminal cases include:

          (1) No COVID-19 confirmed or suspected cases in the court facility within a 14-day period,
              or if a confirmed or suspected case has occurred, there has been a “deep cleaning” of
              exposed areas and applicable employee self-quarantine actions have been taken;

          (2) Sustained downward trending average of cumulative daily COVID-19 case counts in the
              District over a 14-day period; and

          (3) Recission of local restrictions on movement and/or shelter in place orders.

To enter Phase II, the criteria must be satisfied a second time. Criminal trials will begin on a

limited basis in Phase II. The court is currently in Phase I, and it is presently estimated that, on or

about November 2, 2020, the court will enter Phase II of the Reopening Plan.




3
    Id.
4
    Id.
5
    Id.
6
    Id.



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           An “ends of justice” exclusion of time under the Speedy Trial Act is disfavored and “was

meant to be a rarely used tool for those cases demanding more flexible treatment.” 7 However,

based on the ongoing nature of the COVID-19 outbreak in the District, the effect of national and

local public health recommendations and directives (including restrictions on travel and the

availability of hotel accommodations), and the findings and conclusions in Chief Judge Shelby’s

General Orders 20-009 through 20-012, 20-17, 20-021, 20-026, and 20-029, it is necessary and

appropriate to continue trial in this case and exclude time under the Speedy Trial Act. The

expanding number of COVID-19 cases and deaths nationally, and in Utah, and Governor

Herbert’s extension of the “Stay Safe, Stay Home” directive and the continuing restrictions of

the “low risk” stage demand modifications in court practices to protect the public health. Courts

and court operations are necessarily social operations, involving many people.

           The need to protect the health of the public in the midst of a deadly pandemic outweighs

the rights of Defendant and the public to a speedy trial. Moreover, there is a significantly reduced

ability to obtain an adequate spectrum of jurors and available counsel, witnesses, and court

personnel to be present in the courtroom for trial. Empaneling a jury, conducting a trial, and

arranging jury deliberations, with due regard for health and safety, considering the broad

spectrum of participants and their contacts outside the court, is not currently possible in the

physical facilities available to the court. Long exposure in confined spaces, which is inherent in

trial, increases risk of infection. Video and audio conferencing, used for hearings, are not

available for trials. Counsel’s ability to adequately prepare for trial, including locating and

consulting with witnesses, and defense counsel’s ability to confer with Defendant, under these

circumstances is also greatly reduced.


7
    United States v. Toombs, 574 F.3d 1262, 1269 (10th Cir. 2009).



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           This order does not include significant additional time past the anticipated date of

court re-opening for counsel to prepare to try this case. We are now at a point where

counsel must be engaged in trial preparation so that defendants may have their day in

court and the backlog of cases can be promptly reduced. Nevertheless, a failure to continue

trial under these circumstances would result in a miscarriage of justice 8 and would deny counsel

for the government and Defendant the reasonable time necessary for effective preparation, taking

into account the exercise of due diligence. 9 Therefore, the ends of justice served by such a

continuance outweigh the best interests of the public and Defendant in a speedy trial. 10 This

continuance is not predicated on general congestion of the court’s calendar or lack of diligent

preparation by counsel. 11

                                              ORDER

           IT IS HEREBY ORDERED the 2-day jury trial previously scheduled to begin on October

20, 2020, is continued to November 18, 2020, at 8:00 a.m. Accordingly, the time from the entry

of General Order 20-009, March 16, 2020, and the new trial date is excluded from Defendant’s

speedy trial computation for good cause.

           Signed October 2, 2020.

                                               BY THE COURT


                                               ______________________________
                                               David Nuffer
                                               United States District Judge




8
    18 U.S.C. § 3161(h)(7)(B)(i).
9
    Id. § 3161(h)(7)(B)(iv).
10
     Id. § 3161(h)(7)(A).
11
     Id. § 3161(h)(7)(C).



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